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                     EXHIBIT 1
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    5693 S. Redwood Rd. #13 Taylorsville, Utah, 84123 ^ 801.430.2047                   trevor@privateopsut.com


                                                Trevor B Petersen
Bl-lingual (English/French), seasoned, law-enforcement professional with demonstrated accomplishments in
many aspects and experience in diverse, harsh climates. Organized, highly motivated, and detail directed
problem solver. Demonstrated ability to work collaboratively with individuals at all levels. Exhibits high integrity,
professionalism and respect for diversity. Solid background in military, police, security specialization, and
well-developed analytical skills. Shows pride In work and In achievements. Demonstrates professional
competence and mastery of subject matter and is conscientious and efficient in meeting commitments, observing
deadlines and achieving results: Is motivated by professional rather than personal concerns; shows persistence
when faced with difficult problems or challenges. Remains calm In stressful situations. Takes responsibility for
Incorporating gender perspectives and ensuring the equal participation of women and men In all areas of work.
Decisive and detail-oriented specialist. Effective communicator; uses superior interpersonal skills to gain trust and
build strong relationships with volunteers, staff, and administration. Expertise In:

 ~ Special Weapons and Tactics ^ Close Protection Operations ~ Firearms Instruction Internet Crimes Against
 Children ^ Drug and Narcotics ~ Homicide and Gang Task Force ^ White Collar Crimes ~ Training Strategies &
                   Facilitation - Undercover Operations ~ Marine Navigation and Enforcement

                                               Selected Achievements
            Director of Investigations- Cyber OPS,a Division of Court OPS Inc.
            Secret security clearances with the Department of State and Department of Defense
            SWAT Assistant Team Leader for the United Nations -1 year
            Subject Matter Expert(SME)digital forensics,(LEP) Engility Corporation - 1 year
            Weber Metro SWAT Entry Squad Leader - 4 years
            Ogden Metro SWAT - 4 years
            Weber / Morgan Homicide Task Force - 2 years
            Ogden / Weber Metro Gang Unit - 4 years
            Internet Crimes Against Children Task Force (ICAC)- 3 years
            Utah White Collar Crimes Task Force - 2 years
            Weber County Use of Force committee - 3 years
            Kane County Narcotic Strike Force - 2 years
            Utah State Parks and Recreation (Marine Enforcement)-1 year


                                      Professional Accomplishments
        > Certificate of Excellence - 4"^ Brigade 3"* Infantry Division, United States Army(2013)
        >   Letter of Commendation - Weber County Sheriffs Office (2009)
        >   Awarded Deputy of the Year - Weber County Sheriffs Office (2010)
        >   Letter of Dedication and Commitment- Kanab Police Department Chief, Doug Crosby (2001)
        >   Computer forensics certifications
        >   Intermediate Emergency Medical Technician certification (2001)
        >   Numerous awards of excellence
        >   Multiple letters of appreciation
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                                           Professional Experience

Cvber OPS. Taylorsville, Utah- Cyber OPS, a Division of Court OPS inc., is a Sait Lake City based
company, specializing in computer and digital forensics.

Director of Investigations                                                              December 2015- Present
As a licensed private investigator in the State of Utah specializing in data mining, responsible to lead investigations
needing an expert in digital forensics, law enforcement operations, use of force, digital evidence preservation, and
Search Techniques for On-site Preview (STOP)forensic tools. Experienced knowledge of digital forensic software
programs such as Forensic Tool Kit (FTK), Encase, OS Triage, and Image Scan, which provide a competitive
advantage and differentiates from other PI firms. Expert knowledge and experience with the Celebrite Universal
Forensic Extraction Device (UFED), which specializes in digital forensics involving ceiiular/mobile devices.
Knowledge and experience with criminal and civil law and procedures, court testimony, interview and interrogation
supporting key clients as an expert in their cases.


Court OPS Inc.. Taylorsviiie, Utah- Court OPS is a Sait Lake City based company specializing in service of
civil process.

Private Investigator                                                             October 2015- December 2015
As a licensed private investigator in the State of Utah, conducted surveillance operations, research and locating
individuals, acting as personal protection for clients, and civil process service. Conduct background
investigations for local police departments, as a third party entity. Document investigations for the client and
provide accurate information to support decision making and litigation.


Snowbasin Resort. Huntsviiie, Utah- Snowbasin is a world class ski resort boated 33 miles northeast of Salt
Lake City who hosted the 2002 Winter Olympic alpine skiing races for downhiii, combined, and super-G.

Security Officer                                                                September 2015 to October 2015
Worked as a security officer, ensuring the safety of patrons, entertainers, and employees. Conducted area patrols
to prevent theft or damage to the property and investigations when needed. Documented and reported findings to
leadership to support improvements in day to day operations.


DvnCorp International(UNPOL). Fort Worth, Texas- The DynCorp international team combines extensive
reai-worid experience with resourceful, innovative planning to support mobilization, operational readiness,
sustainment and development worldwide.

Police Advisor II(SWAT)Assistant Team Leader                                            April 2014 to May 2015
Worked in Haiti under the Criminal Justice Program Support(CJPS)and in partnership with the United Nations in
MINUSTAH, which is the United Nations Stabilization Mission in Haiti. Responsible for the coordination of the
Special Weapons and Tactics(SWAT) Unit while providing training, mentoring, and supporting the Jordanian and
Haitian SWAT teams.


As the assistant team leader, I observed "day to day" operations. Ensured everyday reports were completed and
submitted to chain of command. Coordinated and approved vacation leave. Communicated with senior officials
within the United Nations and Haitian National Police. Planned, executed, and evaluated tactical operations.
Wrote operational orders and tasked individual responsibilities. Conducted training courses including, but not
limited to; firearms, chemical agents, less-lethal munitions, physical fitness, rappelling, hostage rescue,
dignitary/personal protection. Tactical Emergency Medical(TEMS),cover and support, dynamic entry techniques,
scouting/recon, breaching, use of force, and emergency management. Worked as a fulltime firearms instructor for
SWAT and other specialized Haitian police units.
    Planned and supervised close protection details for Senior United Nations officials and dignitaries.
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Enaility Corporation. Alexandria, Virginia       Deploy the resources and specialized services with efficient and
effective approaches focused on providing precisely the services needed at the best possible cost. Subject
matter experts power a portfolio of capabilities aligned with the changing priorities of the U.S. Government.

Law Enforcement Professional                                                      October 2012 to December 2013
As a Law Enforcement Professional(LEP) in Afghanistan, served as trainer / mentor with the United States Army.
Responsibilities were to train and mentor U.S. forces and the Afghanistan National Police. Main priorities of
instruction included DMA collection and tactical site evidence (TSE)collections, post blast analysis, detainee
operations, provide instruction in latent fingerprint collection, cell phone exploitation (CELLEX), document and
media exploitation (DOMEX), tactical questioning, rule of law, criminal law procedures, and investigative
techniques. Used deductive reasoning to make decisions in high stress situations. Worked collaboratively with
colleagues to achieve organizational goals. Solicited input by genuinely valuing others' ideas and expertise.

Worked as a part of a Quick Reaction Force (QRF), where I was available 24/7. Worked under extremely hostile
and stressful conditions.

•   Served as a Subject Matter Expert(SME)in digital forensics and biometric data collection
•   Trained US soldiers to use the Universal Forensic Extraction Device(UFED)to extract digital intelligence data
    from cellular phones and computers
•   Assisted in operations involving weapons caches, locating High Value Targets (HVT), and Battle Damage
    Assessments(BDA)
•   Assisted, trained, and mentored Afghanistan police with interviewing and interrogation, intelligence gathering,
    detainee operations, and other investigation techniques


Weber County Sheriff's Office. Weber County, Ogden, Utah ~ The Mission of the Weber County Sheriff's
Office is to provide a safe environment for life and property within Weber County through quality service.

Detective(ICAC)                                                              November 2009 to October 2012
As a full-time member of the Internet Crimes Against Children Task Force (ICAC), primary responsibilities were to
proactively search for sexual predators on the Internet. Working with the Federal Bureau of Investigations (FBI),
used software programs to search for Secure Hash Algorithms(SHA)values of known digital files that contained
child pornography shared through Peer to Peer(P2P)files over the Internet. Worked undercover in Internet chat
rooms, posing as an underage female, in an attempt to identify sexual predators. Drafted and executed search
warrants for information and evidence as it pertained to the location of an Internet Protocol (IP) address, physical
location (home or business), and the contents of computer hard drives, cellular phones, and/or Internet accounts.

Proficient computer forensic analyst with FTK, Encase, WinHex, and UFED/Cellex. Certified in basic data
recovery and acquisition (BDRA), windows internet trace evidence (INET), intermediate data recovery and analysis
(IDRA), NT operating systems(NTOS), NT file systems (NTFS), and secure techniques for onsite preview (STOP).

    In 2010, 1 received the Deputy of the Year award for my work as an Internet crimes investigator
    Achieved a 100% conviction rate with my investigations
    Demonstrated results through a 98% confession rate with my interviews and/or interrogations
    Certificate of Appreciation from the Utah Attorney General's Office
    Secured and managed grant funds from the Department of Justice
    Instructed computer crimes classes to several law enforcement agencies, as well as, university students
    Developed Standard Operating Procedures(SOP)for the Weber County Sheriffs Office policy manual on
    handling computer crimes
    Worked as certified instructor for the Utah Police Officer's Standards and Training Academy(POST)
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SWAT Entry Squad Leader (Collateral Duty)                                       November 2008 to October 2012
As an entry squad leader for the Weber Metro SWAT team, responsible for operation coordination, planning.
Intelligence gathering, execution, and after action reporting while supervising a squad of 7-9 SWAT members. At
times, also served as the Operations Officer and/or Team Leader.

Duties Included the planning and execution of operations such as high risk warrant service, hostage rescue,
dignitary/personal protection, barricaded/suicidal subjects, open area searches, and armed/violent persons.
Recognize and evaluate the seriousness of threats. Coordinate close protection operations and ability to effectively
deal with stress factor when encountered In security management and close protection operations. Develop clear
goals that are consistent with agreed strategies. Identify the priority activities and assignments. Adjust priorities as
required. Allocate appropriate amount of time and resources for completing work; while foreseeing risks and allow
for contingencies when planning. Monitor and adjust plans and actions as necessary and use time efficiently.
Speak and write clearly and effectively. Listen to others and correctly Interpret messages from others and respond
appropriately. Ask questions to clarify, and exhibit Interest In having two-way communication. Tailor language, tone,
style and format to match audience. Demonstrate openness In sharing Information and keeping people Informed.
Work collaboratlvely with colleagues to achieve organizational goals and solicit Input by genuinely valuing others'
Ideas and expertise. Willing to learn from others. Place team agenda before personal agenda and support and act
In accordance with final group decision, even when such decisions may not entirely reflect own position. Share
credit for team accomplishments and accept joint responsibility for team shortcomings.

Worked as a firearms Instructor, live fire shoot house Instructor, and range safety officer.

•   Planned and executed a close protection operation for Utah Senator Orin Hatch
•   Trained and mentored several SWAT operators from different states and countries, such as Mexico, England,
    and Mongolia
•   Attended and obtained certifications In several areas such as SWAT operations, planning, and management.
    Less-lethal munitions Instructor, and FBI firearms Instructor certification
•   Trained with elite military units

Financial Crimes investigator                                                     November 2007 to November 2009

Responsibilities Included Investigating white collar crimes such as; fraud. Identity theft, forgery, and embezzlement.
Investigated both Individuals and active criminal enterprise (organized crime). Active participant In a statewide task
force which Involved several law enforcement agencies, both local and federal. Experience drafting and executing
search warrants and Investigative subpoenas. Through the assistance of technology, tracked Internet Protocol (IP)
addresses to locate Individuals using the Internet to commit Identity/credit card fraud. Through the assistance of
hand writing analysis training. Identified suspects In forgery and/or embezzlement cases.

•   Lead Investigator In a high profile forgery case Involving a Utah State court employee resulting In a successful
    conviction.
    Lead Investigator In a high profile forgery/embezzlement case Involving a Utah State Department of Prisons
    employee resulting In a full and successful conviction. Recovered over $70,000 of stolen funds.
    Received a Letter of Commendation for thorough Investigations and conviction rate
    During my 5 years as an Investigator, I also was assigned to the Ogden Metro Gang Unit and responsible for
    Investigating organized crime Involving violent street gangs. Assigned to the Weber/Morgan Homicide Task
    Force where I was responsible for Investigating homicides and an officer Involved shooting that occurred In
    Weber and Morgan Counties.
    Used Global Positioning System (GPS)through a cellular phone to locate a homicide suspect who also had his
    wife hostage. Suspect was apprehended and victim was not harmed / Injured. Personally commended on my
    knowledge and expertise In this case.
    Conducted a use of force and attempted homicide Investigation, which Involved an officer Involved shooting
    with a different law enforcement agency. The officer was severely Injured In this Incident and survived. I was
    commended by the Grand County Attorney's Office and Grand County Sheriff's Office for diligence In this case.
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SWAT(Collateral Duty)                                                        September 2004 to November 2008
As a member of the SWAT entry squad, conducted several operations Including, but not limited to: high risk warrant
service, barricaded/suicidal subjects, dignitary protection, and armed/violent persons. Excellent knowledge of close
protection technique combined with a solid background of military, police or security specialization. Well-developed
analytical skills and able to recognize and evaluate the seriousness of threats. Show pride in work, in
achievements, demonstrates professional competence, and mastery of subject matter. Conscientious and efficient
in meeting commitments, observing deadlines and achieving results. Motivated by professional rather than personal
concerns and show persistence when faced with difficult problems or challenges. Remain calm in stressful
situations. Takes responsibility for incorporating gender perspectives and ensuring the equal participation of women
and men in all areas of work.


Deputy (Patrol)                                                             May 2002 to November 2007
Responsible for responding to calls for service, conducting proactive patrols of residential and business areas,
providing emergency medical services, traffic accident investigations, community policing, serving arrest warrants,
traffic enforcement, drafting complete and accurate reports, and court testimony.

•   Worked as a Field Training Officer (FTC)training, coaching, and evaluating new deputies.
•   Served as an instructor at the Utah State Police Officer's Standards and Training academy.

Kane County Sheriff's Office. Kanab, Utah          Law enforcement office located in Southern Utah which serves
Lake Powell and the Grand Staircase National Monument.


Narcotics Investigator                                                     September 2000 to May 2002
Responsibilities included conducting narcotics investigations some of which included undercover roles as a student
in local high schools. Conducted narcotic investigations involving possession, distribution, manufacturing, and
trafficking and worked with confidential informants and conducted "controlled buy" operations. Extremely proficient
with primitive and cellular base surveillance techniques.

•    Worked undercover, as a student, in 7 different high schools in Utah. These operations resulted in over 30
     felony distribution arrests, 3 distribution locations, 2 methamphetamine laboratories, and 1 trafficking ring.
•    During an undercover operation, in a high school, identified a high school teacher who was cultivating and
     distributing marijuana to high school aged children.
•    Partnered closely with the Drug Enforcement Administration (DEA) with locating and seizing large shipments
     of illegal narcotics being trafficked from Mexico through Utah.

Utah State Parks & Recreation. Lake Powell, Utah ~ Manage 43 state parks — from Bear Lake State Park at
the Utah/Idaho border to Edge of the Cedars State Park Museum deep In the Four Corners region, and everywhere
In between. Administer the Utah off-highway vehicle, boating, and trails programs. Provide access to waterways
and trails, and promote education, safety, and resource protection.

Marine Enforcement Ranger                                                March 2000 to September 2000
Provided marine enforcement, emergency medical services, and search and rescue on Lake Powell, as a marine
enforcement ranger. Conducted boat accident investigations, enforced boating laws, and instructed personal
watercraft safety courses. Worked with federal, state, and local law enforcement that provided law enforcement
services on Lake Powell.


•    Received several letters of appreciation from visitors at Lake Powell, Utah
•    Commended for my professionalism by the National Park Service
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                                                   Education

                                          Fox Valley College - Fall 2010
                                     Southern Utah University - Summer 2001
                          Utah Law Enforcement Academy - POST,CAT 1 February 2000
                           Utah Law Enforcement Academy - POST, CAT II, March 1999
                              Weber State University- Spring of 1999 and Fall of 1999
                                       Bear River High School, Utah-1995


                                                 Certifications

                     Federal Bureau of Investigations (FBI) Firearms Instructor- November 2011
   National Tactical Officer's Association (NTOA) Less-Lethal/Chemical Munitions Instructor- September 2006
                                 Emergency Medical Technician (EMT)- May 2001
        National White Collar Crimes(NW3C) Digital Forensics Subject Matter Expert(SME)- March 2011
                                   Utah Public Safety Instructor- November 2004
                              Utah Public Safety Field Training Officer- August 2004
                        Swanson's Tactical Training Center Range Safety Officer- July 2010
